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                                         3626
                                                                                            Michael Cukor

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                                              April 7, 2025

   Hon. Jamel K. Semper
   Martin Luther King Jr. Courthouse
   Courtroom: PO 03
   50 Walnut Street
   Room 4040, Courtroom 4C
   Newark, New Jersey 07101

   RE:           Vision Industries Group, Inc. v. ACU Plasmold, Inc.
                 Case No.: 2:18-cv-06296-JKS-CLW

   Dear Judge Semper:

   Attached please find Plaintiff’s Opposition to Defendants’ Motions in Limine. We are
   required to file this as an attachment to a letter because ACU’s motions are not shown on
   the docket .




                                               Respectfully,



                                               Michael Cukor
